       Case:4:20-cv-02798-HSG
       Case  22-15827, 01/18/2023, ID: 12633194,
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                           NOT FOR PUBLICATION                          FILED
                  UNITED STATES COURT OF APPEALS                         JAN 18 2023
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS
                          FOR THE NINTH CIRCUIT

FELLOWSHIP OF CHRISTIAN                        No.    22-15827
ATHLETES, an Oklahoma corporation;
FELLOWSHIP OF CHRISTIAN                        D.C. No. 4:20-cv-02798-HSG
ATHLETES OF PIONEER HIGH                       Northern District of California,
SCHOOL, an unincorporated association;         Oakland
CHARLOTTE KLARKE; ELIZABETH
SINCLAIR,                                      ORDER

                Plaintiffs-Appellants,

 v.

SAN JOSE UNIFIED SCHOOL DISTRICT
BOARD OF EDUCATION; NANCY
ALBARRAN, in her official and personal
capacity; HERB ESPIRITU, in his official
and personal capacity; PETER GLASSER, in
his official and personal capacity; STEPHEN
MCMAHON, in his official and personal
capacity,

                Defendants-Appellees.

MURGUIA, Chief Judge:

      En banc oral argument will take place during the week of March 20, 2023, in

Pasadena, California. The date and time will be determined by separate order. For

further information or special requests regarding scheduling, please contact Deputy

Clerk Paul Keller at paul_keller@ca9.uscourts.gov or (206) 224-2236.
       Case:4:20-cv-02798-HSG
       Case  22-15827, 01/18/2023, ID: 12633194,
                                Document         DktEntry:
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      Within seven days from the date of this order, the parties shall forward to the

Clerk of Court eighteen additional paper copies of the original briefs and ten

additional paper copies of the excerpts of record. The paper copies must be

accompanied by certification (attached to the end of each copy of the brief) that the

brief is identical to the version submitted electronically. The Form 18 certificate is

available on the Court's website at http://www.ca9.uscourts.gov/forms/




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